Case 1-22-41064-ess   Doc 54   Filed 07/20/22   Entered 07/20/22 11:51:43
Case 1-22-41064-ess   Doc 54   Filed 07/20/22   Entered 07/20/22 11:51:43
Case 1-22-41064-ess   Doc 54   Filed 07/20/22   Entered 07/20/22 11:51:43
Case 1-22-41064-ess   Doc 54   Filed 07/20/22   Entered 07/20/22 11:51:43
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Case 1-22-41064-ess   Doc 54   Filed 07/20/22   Entered 07/20/22 11:51:43
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